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                                                                 JS-6




                     UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF CALIFORNIA
                            WESTERN DIVISION



   FARHAD FRED HAFEZI,                    No. CV 16-03374-JAK (DFM)

           Petitioner,                    JUDGMENT

               v.

   CALVIN REMINGTON,

           Respondent.



        Pursuant to the Court’s Order Accepting the Report and
  Recommendation of United States Magistrate Judge,
        IT IS ADJUDGED that the Petition is denied, and this action dismissed
  with prejudice.


   Date: September 16, 2020                ___________________________
                                           JOHN A. KRONSTADT
                                           United States District Judge
